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IN THE UNITED sTATEs DIsTRIcT coURT F"'ED B.r °-C-
FoR THE WESV:TF::§ERILIS],JTIRVIICSTIO§F TENNESSEE 05 AUG al PH 3:57
ERIC D. WALLACE, CLE§K' §§ }”'”T;;§W
Plaintiff,
vs. No. 02-2704-Ma

DONAL CAMPBELL, ET AL.,

Defendants.

 

ORDER DENYING MOTION TO CONTINUE AS MOOT

 

Before the court is plaintiff’s September 8, 2004, motion to
reset the pretrial conference and trial dates in this matter.
The court entered an order amending the schedule in this case on
February 9, 2005 (D.E. No. 74), which amended the schedule,
including the pretrial and trial dates. The motion to continue
is moot and is, therefore, denied.

It is so ORDERED this 3\$ day of August, 2005.

</”¢WWL,==,

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:02-CV-02704 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

